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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                             BILLINGS DIVISION

UNITED STATES OF AMERICA,                            CR 19–105–BLG–DLC

                        Plaintiff,

vs.                                                          ORDER

JOHN DUDIK, IV,

                        Defendant.

      Before the Court is the Motion of the United States for Issuance of a

Preliminary Order of Forfeiture. (Doc. 37.) On January 23, 2020, Defendant John

Dudik, IV, entered a plea of guilty to Count II of the Indictment, which charged

him with possession with intent to distribute methamphetamine. The Indictment

also contained a forfeiture allegation. Dudik’s guilty plea provides a factual basis

and cause to issue an order of forfeiture, pursuant to 21 U.S.C. § 841(a)(1), 21

U.S.C. § 853, and Federal Rule of Criminal Procedure 32.2(b)(2).

      Accordingly, IT IS ORDERED that:

      (1)      Dudik’s interest in the following property is forfeited to the United

States for disposition in accordance with the law, subject to the provisions of to 21

U.S.C. § 853(n)(1):

            • $12,389.50 in United States currency; and

            • $950.00 in United States currency.

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      (2)    The forfeited property is to be held by the United States in its secure

custody and control.

      (3)    Pursuant to 21 U.S.C. § 853(n)(1), the United States shall publish at

least once for three successive weeks in a suitable means of general circulation

notice of this Order, notice of the United States’ intent to dispose of the property in

such manner as the Attorney General may direct, and notice that any person, other

than Dudik, having or claiming a legal interest in the above-listed forfeited

property must file a petition with the Court within thirty (30) days of the final

publication of notice or of receipt of actual notice, whichever is earlier. This

notice shall state that the petition shall be for a hearing to adjudicate the validity of

the petitioner’s alleged interest in the property, shall be signed by the petitioner

under penalty of perjury, and shall set forth the nature and extent of the petitioner’s

right, title, or interest in the forfeited property and any additional facts supporting

the petitioner’s claim and the relief sought.

      The United States may also, to the extent practical, provide direct written

notice to any person known to have alleged an interest in the property that is the

subject of the preliminary order of forfeiture, as a substitute for published notice as

to those persons so notified.




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      (4)    Upon adjudication of all third-party interests, this Court will enter a

final order of forfeiture, pursuant to 21 U.S.C. § 853(n), in which all interests will

be addressed.

      DATED this 27th day of October, 2020.




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